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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY


    J.C.M. and M.H.G, individually and on
    behalf of M.C.H.,                                    Civil Action

                          Plaintiffs,                    Docket No.: 3:24-CV-10139-MAS-RLS

    v.

    FRANKLIN TOWNSHIP              BOARD       OF      STIPULATION AND CONSENT ORDER
    EDUCATION,                                                EXTENDING TIME
                                                       TO ANSWER OR OTHERWISE PLEAD
                          Defendant.


           IT IS HEREBY STIPULATED AND AGREED by and between the parties herein,

    through their respective counsel, that the time within which the Defendant may answer or

    otherwise respond to the Complaint, originally due by November 25, 2024, is hereby extended

    for thirty (30) days, through a new deadline of December 26, 2024.

    CLEARY GIACOBBE ALFIERI JACOBS, LLC,                 DAVID GILES LAW,

    Counsel for Defendant,                               Counsel for Plaintiffs,

            s/Cameron R. Morgan                                  s/David R. Giles
    By:                                                  By:
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           Counsel for Defendant, Franklin                      Counsel for Plaintiffs, J.C.M. and
           Township Board of Education                          M.H.G, individually and o/b/o M.C.H.

    Dated: November 22, 2024                             Dated: November 22, 2024


                                              SO ORDERED on this ___ day of ______________, 2024:


                                              By:
                                                    HONORABLE MICHAEL A. SHIPP, U.S.D.J.
